Case 2:10-md-02179-CJB-DPC Document 11734-2 Filed 10/25/13 Page 1of3

EXHIBIT “A”
Case 2:10-md-02179-CJB-DPC Document 11734-2 Filed 10/25/13 Page 2 of 3

24

25

SWORN STATEMENT OF

LOUIS LONGLOIS

On October 13, 2011, beginning at 3:30 P.M. at the
offices of Laborde & Neuner, 1001 West Pinhook
Road, One Petroleum Center, Suite 200, Lafayette,
Louisiana before me, Debbie G. Chaney, Certified
Court Reporter, appeared LOUIS LONGLOIS, who,
being by me first duly sworn, gave his oral

statement.

REPORTED BY: DEBBIE G. CHANEY, CCR

Page 1

Case 2:10-md-02179-CJB-DPC Document 11734-2 Filed 10/25/13 Page 3 of 3

24

25

Pr OO P Oo

PO PF oO

Pr O PYF O

The aluminum door.

Okay.

This right here (indicating), I believe -- I
believe it's a fire door, I think.

The engine room door?

The engine room door.

Okay.

It's a little bit heavier door. But when it
flung open, and the overhead -- the overhead
buckled a little bit.

Like the ceiling?

The ceiling.

In the change room?

In the change room. And it came down about
this much, enough to catch that door.

You mean like six inches, four inches?

Yeah, about four inches, I'd say.

Okay.

But it was enough to catch that door. So
when it came open, it stuck.

Okay. Did you see Mr. Johnson after the
blast?

Yes, I did.

Was he standing?

Yes, he was.

Page 18

—————————

